  Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 1 of 36




                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


H. CRISTINA CHEN-OSTER, SHANNA ORLICH,     Case No. 1:10-cv-6950-AT-RWL
ALLISON GAMBA, and MARY DE LUIS,

                 Plaintiffs,

         -against-

GOLDMAN SACHS & CO. LLC and
THE GOLDMAN SACHS GROUP, NC.,

                Defendants.



          MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
          UNOPPOSED MOTION FOR PRELIMINARY APPROVAL




                                   -i-
       Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 2 of 36




                                  TABLE OF CONTENTS
I.      INTRODUCTION .......................................................................................................... 1

II.     BACKGROUND ............................................................................................................ 1

        A.        2010-2014: Initial Discovery and Litigation....................................................... 2

        B.        2014-2018: Class Certification, Motions to Strike Expert Opinions,
                  Intervention of Additional Plaintiffs, and Motions to Dismiss ........................... 4

        C.        2018-2021: Merits Discovery, Motion to Compel Arbitration,
                  Expert Discovery ................................................................................................ 9

        D.        2021-2022: Daubert, Summary Judgment, and Decertification
                  Motions ............................................................................................................. 12

        E.        2022-2023: Pre-Trial Process ........................................................................... 13

        F.        Settlement Negotiations .................................................................................... 14

        G.        The Class ........................................................................................................... 15

III.    THE SETTLEMENT .................................................................................................... 16

        A.        Monetary Relief ................................................................................................ 16

        B.        Programmatic Relief ......................................................................................... 18

        C.        Releases From Settlement Class Members ....................................................... 19

        D.        Attorneys’ Fees, Costs, and Service Awards .................................................... 20

        E.        Settlement Administration ................................................................................ 21

IV.     ARGUMENT ................................................................................................................ 22

        A.        Preliminary Approval of the Class Action Settlement Is Warranted. ............... 22

                  1.         Litigation Would Be Complex, Costly, and Long (Factor 1). .............. 24

                  2.         The Court Can Assess the Class’s Reaction After Notice (Factor 2) ... 25

                  3.         The Parties Exchanged Sufficient Information to Evaluate the
                             Claims and Defenses (Factor 3). ........................................................... 26

                  4.         The Risks of Establishing Liability and Damages Favor Approval
                             (Factors 4 and 5). .................................................................................. 26




                                                                    -ii-
     Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 3 of 36




                5.         Risk to Maintaining Class Certification Favors Approval (Factor 6). .. 27

                6.         Ability to Withstand a Greater Judgment Is Neutral (Factor 7)............ 28

                7.         The Settlement Is Substantial, Even in Light of the Best Possible
                           Recovery and the Attendant Risks of Litigation (Factors 8 and 9)....... 28

                8.         The Settlement Provides for Equitable Treatment of Class Members. . 29

      B.        The Proposed Notice Process Satisfies Due Process. ....................................... 29

V.    CONCLUSION ............................................................................................................. 30




                                                               -iii-
       Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 4 of 36




                                                TABLE OF AUTHORITIES

CASES                                                                                                                         PAGE(S)

In re Austrian & German Bank Holocaust Litig.,
    80 F. Supp. 2d 164 (S.D.N.Y. 2000) .......................................................................... 24, 26, 28

City of Detroit v. Grinnell Corp.,
   495 F.2d 448 (2d Cir. 1974) ................................................................................................... 24

D’Amato v. Deutsche Bank,
  236 F.3d 78 (2d Cir. 2001) ..................................................................................................... 24

In re Ira Haupt & Co.,
    304 F. Supp. 917 (S.D.N.Y. 1969) ......................................................................................... 26

Kassman v. KPMG LLP,
  No. 11 Civ. 3743, 2021 U.S. Dist. LEXIS 71243 .................................................................. 28

Maywalt v. Parker & Parsley Petroleum Co.,
  67 F.3d 1072 (2d Cir. 1995) ................................................................................................... 23

Reyes v. Altamarea Grp., LLC,
   No. 10 Civ. 6451, 2010 U.S. Dist. LEXIS 139132 (S.D.N.Y. Dec. 22, 2010) ...................... 30

Soler v. Fresh Direct, LLC,
   No. 20 Civ. 3431, 2023 U.S. Dist. LEXIS 42647 (S.D.N.Y. Mar. 14, 2013) ............ 23, 24, 30

Torres v. Gristede’s Operating Corp.,
   No. 04 Civ. 3316, 2010 U.S. Dist. LEXIS 75362 (S.D.N.Y. June 1, 2010) ........................... 23

Wal-Mart Stores, Inc. v. Visa U.S.A. Inc.,
  396 F.3d 96 (2d Cir. 2005) ............................................................................................... 22, 23

Wal-Mart v. Dukes,
  564 U.S. 338 (2011) ............................................................................................................... 24

In re Warfarin Sodium Antitrust Litig.,
    391 F.3d 516 (3d Cir. 2004) ................................................................................................... 26

OTHER

Fed. R. Civ. P. 23 ................................................................................................................... 23, 29

4 Newberg and Rubenstein on Class Actions (Sixth) § 13:10 ..................................................... 23




                                                                     -iv-
      Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 5 of 36




FJC, Illustrative Forms of Class Action Notices: Notice Checklist and Plain Language Guide,
   https://www.fjc.gov/content/301350/illustrative-forms-class-action-notices-notice-checklist-
   and-plain-language-guide (last visited April 25, 2023) ........................................................... 23




                                                           -v-
      Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 6 of 36




I.     INTRODUCTION

       Plaintiffs Cristina Chen-Oster, Shanna Orlich, Allison Gamba, and Mary De Luis

(“Plaintiffs”), on behalf of themselves and the Class, seek preliminary approval of a proposed

settlement with Defendants Goldman Sachs & Co. LLC and The Goldman Sachs Group, Inc.

(together, “Goldman”). 1 After almost thirteen years of extensive and highly contested litigation,

and less than two months before trial, the Parties reached a $215 million settlement following

several rounds of mediation over the long course of this case. The settlement is one of the most

significant employment discrimination class action settlements, providing substantial financial

benefits to the Settlement Class of 2,887 female Associates and Vice Presidents who are or were

in revenue-producing roles at Goldman. This settlement also provides significant programmatic

relief including independent review and adjustments to Goldman’s challenged evaluation and

promotion processes. Through this motion, Plaintiffs respectfully submit that this Settlement is

fair, adequate, and reasonable and that Notice should be provided to the Class. 2

II.    BACKGROUND

       Plaintiffs brought this action under Title VII and the New York City Human Rights Law

(NYCHRL), asserting both disparate impact and disparate treatment theories of liability.

Plaintiffs alleged that Goldman’s performance evaluation, promotion, and compensation

practices negatively impact women Associates and Vice Presidents in three of Goldman’s

revenue-generating divisions: Investment Banking, Investment Management, and Securities.

Specifically, Plaintiffs challenged Goldman’s two evaluation systems: first, the “360 Review,”



1 The Parties’ proposed Settlement Agreement and Release (“Settlement Agreement”) is
attached as Exhibit A to the Declaration of Adam Klein (“Klein Declaration”). All capitalized
terms herein are defined in the Settlement Agreement.
2 Plaintiffs’ proposed Notice is attached as Exhibit 1 to the Settlement Agreement.



                                                 -1-
     Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 7 of 36




which involved numerical ratings and qualitative comments by 8-12 evaluators, including

subordinates, managers, peers, and internal clients, based on specified criteria; and second,

“Quartiling,” in which managers assigned employees to one of four or five “quartile” rankings

based on performance relative to other employees. 360 review and Quartiling data could be used

by Goldman’s managers when making employee compensation decisions. Plaintiffs additionally

challenged Goldman’s promotion process from Vice President to Managing Director, called

“Cross-Ruffing,” which, among other things, involved interviews by “Cross-Ruffers” with

candidates’ managers, peers, and internal clients, and multiple rounds of candidate ranking, with

final promotions ultimately reviewed and finalized by Goldman’s division heads.

       Plaintiffs and the Class have been represented by two experienced class action law firms.

Goldman has been represented, over time, by three large, international law firms, and retained

counsel for certain ESI-related issues and conflicts counsel for managing certain third-party

subpoenas. As chronicled below, this case has involved extensive discovery, an immense number

of substantive disputes and extensive motion practice over almost thirteen years, three appeals,

production by Goldman and review by Plaintiffs’ counsel of hundreds of thousands of

documents and numerous databases, over 20 expert reports and submissions (most of them

contested by the Parties), and over 1,400 docket entries.

       A.      2010-2014: Initial Discovery and Litigation

       This case has been intensely litigated since it was first filed by Plaintiffs in September

2010. ECF No. 5. On the same day that Goldman answered the Complaint in November 2010, it

also moved to compel then-Named Plaintiff Lisa Parisi’s claims into arbitration. ECF Nos. 23,

24, 29. 3 The Parties also immediately began engaging in discovery, including conferring on and



3 On April 28, 2011, the Magistrate Judge denied Goldman’s motion to stay and compel



                                                 -2-
     Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 8 of 36




litigating many disputed evidentiary issues. Prior to the filing for class certification, the

Magistrate Judge was asked to resolve at least ten discovery disputes and held many discovery

conferences. Klein Decl. ¶ 8. The Parties vigorously contested each side’s positions with respect

to the scope of class discovery, the impact of the Supreme Court’s 2011 decision in Wal-Mart v.

Dukes, the proportionality of discovery (including as to personnel data and the production of

ESI), and the discoverability of internal complaint files and internal gender audits by Goldman’s

Employment Law Group, among many other issues. Id.

       In summer 2011, Goldman also filed two motions to strike Plaintiffs’ class allegations,

ECF Nos. 66, 68, and for partial summary judgment on Plaintiffs’ disparate impact claims, ECF

Nos. 82-84. Following the filing of Plaintiffs’ First Amended Complaint on September 19, 2011,

ECF No. 104, Goldman renewed its motions to strike and for partial summary judgment. ECF

Nos. 98-101. On September 29, 2011, the Magistrate Judge issued a Report and

Recommendation (“R&R”) that Goldman’s first motion to strike class allegations be denied.

ECF No. 105. The Parties fully briefed Goldman’s objections to this R&R, ECF Nos. 114, 116,

119, 121, and on January 10, 2012, the District Judge affirmed the R&R and denied the first

motion to strike class allegations, ECF No. 133. The following week, on January 19, 2012, the

Magistrate Judge issued an R&R recommending that Goldman’s second motion to strike class

allegations and for partial summary judgment also be denied. ECF No. 134. Following the

Parties’ briefing on Goldman’s objections to that R&R, ECF Nos. 135, 140, on July 17, 2012, the




arbitration. ECF No. 59. Goldman moved for reconsideration, ECF Nos. 62-65, which the
Magistrate Judge also denied on July 7, 2011, ECF No. 73. On October 25, 2011, the District
Judge held oral argument on the arbitration motion, and again denied the motion on November
15, 2011. ECF No. 120. Goldman appealed this denial on December 13, 2011. ECF No. 126. On
March 23, 2013, the Second Circuit reversed the District Court’s decision and compelled Parisi’s
claims into arbitration. ECF No. 171.


                                                   -3-
     Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 9 of 36




District Judge granted Goldman’s request to strike only Plaintiffs’ class allegations under Federal

Rule of Civil Procedure (“Rule”) 23(b)(2), finding that former employees lacked standing to seek

injunctive or declaratory relief, but denied Goldman’s motion in all other respects. ECF No. 158.

This ruling on standing was later reversed by the Court, as described below.

       During this period, Named Plaintiffs Chen-Oster and Orlich each sat for multi-day

depositions in July and December 2011. Klein Decl. ¶ 9. Plaintiffs also undertook thorough and

exhaustive document searches in response to Goldman’s document requests and interrogatories.

Id. Plaintiffs also maintained very close, frequent communication with Plaintiffs’ counsel – and,

notably, including during all of the various mediation sessions and settlement negotiations. Id.

       B.      2014-2018: Class Certification, Motions to Strike Expert Opinions,
               Intervention of Additional Plaintiffs, and Motions to Dismiss

       Under the Court’s schedule, fact discovery for the pre-class certification phase of the

litigation largely ended in October 2013. ECF Nos. 201, 211. By this point, Goldman had

produced about 30,000 documents, amounting to nearly 145,000 pages, and comprehensive

personnel data for Associates and Vice Presidents dating back to 2002, and the Parties had taken

seventeen fact and corporate depositions. Klein Decl. ¶ 10. Following fact discovery, Plaintiffs

produced the expert reports of four expert witnesses: Drs. Hank Farber, Wayne Cascio, Pamela

Tolbert, and David Yermack. Goldman produced rebuttal reports from four experts: Drs.

Michael Campion, Michael Ward, Michael Curran, and Jennifer Chatman. Id. Plaintiffs’ experts

also prepared reply reports. Id. Following disputes on the reply opinions, and briefing of Daubert

motions, Goldman’s experts submitted sur-rebuttal reports, and Plaintiffs’ experts prepared

responses to those sur-rebuttal reports. Id. All eight experts were deposed between November

2013 and March 2014. Id.

       Plaintiffs moved for class certification on July 1, 2014. ECF Nos. 246-60. In support of




                                                 -4-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 10 of 36




their motion, Plaintiffs submitted over 1,200 pages of exhibits, thirteen declarations, and expert

reports. Id. Goldman opposed on July 25, 2014, submitting a 75-page opposition brief, over 700

pages of exhibits, 181 pages of supporting declarations, and rebuttal expert reports. ECF Nos.

264-298. Goldman deposed four Class Members who submitted declarations in support of class

certification. Klein Decl. ¶ 11. The Parties also submitted significant briefing on their respective

Daubert motions to exclude the other side’s expert reports. Id. Plaintiffs also moved to strike

certain declarations submitted with Goldman’s opposition to class certification. ECF Nos. 299,

301-302.

       On October 22 and 23, 2014, the Magistrate Judge held a two-day evidentiary hearing

and oral argument. Klein Decl. ¶ 12. The Parties’ experts testified at length in-person about their

analyses and opinions, and counsel presented legal arguments. Id. On March 10, 2015, the

Magistrate Judge entered a Memorandum and Order granting in part and denying in part the

Parties’ motions to strike expert opinions, and an R&R recommending denial of class

certification under Rule 23(b)(2) and Rule 23(b)(3). ECF Nos. 363, 364. The Magistrate Judge

indicated that he would have recommended certification under Rule 23(b)(2), but for the District

Judge’s July 2012 order that Plaintiffs, as former employees, lacked standing to seek injunctive

or declaratory relief. ECF No. 364.

       Following the Magistrate Judge’s R&R on class certification, Plaintiffs moved for

reconsideration, including on the issue of whether Plaintiffs have standing to represent a class

under Rule 23(b)(2). ECF Nos. 368, 369. Shortly thereafter, on April 13, 2015, Plaintiffs filed a

motion to intervene new Plaintiffs Allison Gamba and Mary De Luis as class representatives;

Plaintiffs maintained that both had standing as current employees either at the time of complaint

filing or intervention. ECF Nos. 376-379. Goldman opposed reconsideration and intervention.




                                                  -5-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 11 of 36




ECF Nos. 380, 392-400. The Magistrate Judge held oral argument on the intervention motion on

July 22, 2015, and on August 3, 2015, granted the motion to intervene, but denied the motion for

reconsideration. ECF No. 410.

       On August 3, 2015, Plaintiffs filed their Second Amended Complaint, adding the claims

of new Plaintiffs Gamba and De Luis. ECF No. 411. The Magistrate Judge stayed discovery on

August 26, 2015, pending this Court’s review of the Parties’ objections to the Magistrate Judge’s

recommendations on class certification and Daubert motions. ECF No. 432. Goldman also

objected to the Magistrate Judge’s intervention order on August 17, 2015, ECF Nos. 419-422,

and the Parties completed briefing on those objections on September 8, 2015. ECF No. 440.

       On August 31, 2015, the Court permitted Goldman to file a motion to dismiss Plaintiff

Gamba’s claims for injunctive and declaratory relief, and held in abeyance the briefing on

Plaintiffs’ objections to the class certification R&R. ECF No. 437. The Parties briefed the motion

to dismiss between September 28 and October 19, 2015. ECF Nos. 441-445. On June 6, 2016,

the Court affirmed the Magistrate Judge’s intervention order, permitting Plaintiffs Gamba and

De Luis to remain in the case as new class representatives. ECF No. 450. Goldman then sought

to dismiss Plaintiff De Luis’s claims, and following competing letters from the Parties, the Court

set a schedule for briefing that motion, but continued to hold in abeyance a briefing schedule on

the class certification R&R. ECF No. 454. Goldman filed its motion to dismiss Plaintiff De

Luis’s claims for injunctive and declaratory relief on July 11, 2016, ECF Nos. 457, 458, and the

Parties completed briefing that motion on August 1, 2016, ECF Nos. 462, 463.

       On April 12, 2017, the Court entered a Memorandum Opinion and Order denying

Goldman’s motions to dismiss the claims of Plaintiffs Gamba and De Luis for injunctive and

declaratory relief. ECF No. 479. In so doing, the Court further reversed the earlier decision of




                                                 -6-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 12 of 36




District Judge Sand, joining other courts in the Southern District of New York, and found that

former employees have standing to seek injunctive or declaratory relief. Id. at 7. Following the

Court’s order, Goldman sought permission to appeal the denial of its motions to dismiss. ECF

Nos. 484, 485. Over Plaintiffs’ opposition, ECF No. 495, the Court granted Goldman’s request

and certified the order for appeal on June 14, 2017, ECF No. 500. The Second Circuit denied

Goldman’s petition for leave to appeal. ECF No. 539.

       Plaintiffs filed a Supplemental Amended Complaint on April 25, 2017. ECF No. 486.

       On June 23, 2017, Plaintiffs filed two Objections, spanning 87 pages, to the Magistrate

Judge’s R&R denying class certification and Daubert decisions, while Goldman filed five

separate Objections, spanning 136 pages, to the same decisions. ECF Nos. 501-507, 511. The

Parties completed briefing responses and replies on August 1, 2017. ECF Nos. 513-536.

       In light of this Court’s reversal of Judge Sand’s earlier decision regarding the availability

of injunctive and declaratory relief, which had been the basis for the Magistrate Judge’s

recommended denial of Rule 23(b)(2) certification, the Court issued an order on August 30,

2017, requiring the Parties to submit positions as to what additional record development may be

necessary to decide Rule 23(b)(2) certification. ECF No. 540. In September 2017, the Magistrate

Judge held a status conference and then ordered the Parties to submit evidence and argument

regarding whether Goldman’s policies had changed, necessitating further pre-certification

discovery. ECF No. 544. The Parties submitted evidence and briefing in October and November

2017. ECF Nos. 545, 546, 553, 554. The Magistrate Judge held oral argument on December 13,

2017, and a further status conference on January 23, 2018, regarding class certification. The

Court then ordered that Rule 23(b)(2)-related class certification fact and expert discovery be

completed by August 29, 2018, with briefing to be completed by November 16, 2018. ECF No.




                                                 -7-
       Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 13 of 36




568.

         On March 30, 2018, the Court overturned the R&R on class certification and certified a

class pursuant to Rule 23(b)(3). ECF No. 578. Shortly thereafter, Goldman sought to stay

discovery and the distribution of Class notice in order to appeal the decision, ECF No. 579,

which Plaintiffs opposed and the Court denied. ECF Nos. 580, 581. Goldman petitioned the

Second Circuit to appeal the class certification decision under Rule 23(f), and after oral

argument, on September 4, 2018, the Second Circuit denied Goldman’s petition. ECF No. 620.

         Prior to the Second Circuit’s denial of Goldman’s Rule 23(f) petition, the Parties had

continued to engage on the question of when and on what record the Court should consider Rule

23(b)(2) class certification. Following the completion of supplemental fact discovery regarding

changes to Goldman Sachs’s policies, Plaintiffs moved to modify the schedule and requested that

the Court proceed with deciding Rule 23(b)(2) certification. ECF No. 582. The Parties briefed

this motion, and the Magistrate Judge held oral argument on June 27, 2018, and then denied

Plaintiffs’ request to decide Rule 23(b)(2) certification on the existing record based on the

Magistrate Judge’s finding that the challenged processes had materially changed after 2015. ECF

Nos. 609, 613. Following continued expert discovery on the process changes, on September 27,

2018, Plaintiffs notified the Court that they no longer intended to separately and additionally

move for certification under Rule 23(b)(2), in light of the Court’s order granting certification

under Rule 23(b)(3) and their belief that injunctive relief was already included. ECF No. 625.

Accordingly, the Magistrate Judge vacated the remaining deadlines associated with Rule

23(b)(2)-related discovery and briefing. ECF No. 627.

         During this period, the Parties also expended significant time negotiating the contents and

form of the Class notice to be distributed to potential Class Members. Klein Decl. ¶ 13. In July




                                                  -8-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 14 of 36




2018, the Parties reached impasse and sought the Court’s assistance on issues including whether

Goldman should be required to produce to Plaintiffs the contact information of Class Members

prior to the end of the opt-out period, the substantive content of the opt-out form, and additional

language in the notice itself regarding the characterization of Phase II proceedings. ECF No. 610.

On July 24, 2018, the Magistrate Judge issued an order resolving these disputes, clearing the way

for notice to be disseminated. ECF No. 618. The Court also resolved additional disputes

regarding the notice in November 2018. ECF Nos. 637, 638, 639. The notice was distributed on

November 30, 2018 to the 3,487 potential Class Members, and after a 45-day opt-out period, 166

individuals elected to opt out. Klein Decl. ¶ 13. Another four Class Members opted out of the

class over the course of 2019 and 2020. Id.

       During this period, Plaintiffs continued to be intently engaged with the litigation. Plaintiff

Gamba was deposed twice, first in June 2014, and again in September 2018, and Mary De Luis

was deposed in August 2018. Id. ¶ 14.

       C.      2018-2021: Merits Discovery, Motion to Compel Arbitration, Expert
               Discovery

       Following the class certification order in March 2018, the Parties began merits discovery,

an approximately three-year period involving more than a dozen conferences to resolve

evidentiary and privilege disputes and resulting in Goldman producing more than 141,000

additional documents, amounting to nearly 800,000 pages. Klein Decl. ¶ 15.

       On May 2, 2018, the Magistrate Judge held a scheduling conference to set the scope of

fact discovery. To manage discovery, the Magistrate Judge required the Parties to submit status

reports every 60 days to raise any disputes. Between May 2018 and November 2020, the Parties

submitted at least fourteen such reports, raising a significant number of discovery disputes during

this period. See, e.g., ECF No. 617 (July 23, 2018), 624 (Sept. 20, 2018). Over those two years,




                                                 -9-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 15 of 36




the Court held at least fourteen discovery conferences to resolve discovery disagreements. The

disagreements included, among other things, the negotiation, timing, and scope of Goldman’s

ESI searches and productions; the production of additional internal complaint files and

comparator personnel files; Goldman’s privilege logs and Plaintiffs’ numerous requests that

Goldman de-designate numerous documents withheld as privileged, including multiple rounds of

privilege challenges and in camera review of withheld documents; Goldman’s relevance

redactions and Plaintiffs’ requests that Goldman unredact and reproduce large numbers of

documents; Plaintiffs’ request to quash Goldman’s subpoenas to Plaintiffs’ employers and

requests for tax records; whether the Parties would be required to respond to various

interrogatories and requests for admission; and the scope of deposition discovery, including

whether Plaintiffs could depose Goldman’s executive leadership. Klein Decl. ¶ 16. Several

substantive issues also arose repeatedly during this period of time, including: the scope of

evidence that would be presented at Phase I and Phase II proceedings; the extent to which

Plaintiffs’ class claims encompassed Goldman’s compensation-setting policies; the role of

anecdotal evidence and individual complaints at trial; evidence regarding individuals’ alleged

gender bias; and evidence regarding Goldman’s internal diversity analyses. Id. The Magistrate

Judge ruled in favor of Plaintiffs on certain of these disputes, and in favor of Goldman on others.

With respect to the scope of evidence and issues to be presented at Phase I and Phase II, the

Magistrate Judge ordered in November 2019 that the Phase I trial would not include “damages

(including back pay) and punitive damages.” ECF No. 888.

       During the discovery period, Goldman also filed a motion to compel arbitration for a

large portion of the Class. ECF Nos. 715, 716. Plaintiffs simultaneously filed a motion for relief

under Rule 23(d) to void language in certain equity award agreements that required arbitration of




                                                -10-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 16 of 36




claims in this action. ECF Nos. 717-720. Following significant briefing and oral argument, the

Magistrate Judge issued an Order on March 26, 2020. ECF No. 983. The Court largely enforced

all the arbitration provisions under contract law, but also determined under Rule 23(d) that

Goldman’s arbitration provisions in equity award agreements were “procured in a confusing and

potentially misleading fashion.” Id. at 82. As a remedy, the Court permitted notice to Class

Members who had executed equity award agreements and an opportunity for those Class

Members to opt out of arbitration. After the Parties litigated the contents and form of that notice,

the Magistrate Judge resolved those disputes across a series of orders, and the notice was issued

in February 2022. ECF Nos. 1303, 1332, 1336, 1341, 1353. The District Court ultimately upheld

the Magistrate’s order regarding arbitration on September 15, 2021 and over 1,500 Class

Members were compelled to arbitration. ECF No. 1264.

       Fact discovery closed on November 20, 2020. ECF No. 1050. By the end of the discovery

period, Goldman had produced, subject to the Protective Order, over 242,000 documents,

amounting to almost 1.2 million pages, and produced databases reflecting sixteen years of

personnel data, including the personnel history, evaluations, compensation, promotions, and

numerous other data metrics that Goldman tracks and records in its Human Resources systems

for many thousands of relevant positions and employees. Plaintiffs responded to five sets of

document requests, four sets of interrogatories, and two sets of requests for admission, while

Goldman responded to thirteen sets of document requests, nine sets of interrogatories, and four

sets of requests for admission. Klein Decl. ¶ 17. Plaintiffs took the depositions of eleven

additional fact witnesses. Id.

       Throughout the merits discovery phase, Named Plaintiffs remained closely engaged with

Plaintiffs’ counsel on all aspects of the litigation, including responding to robust discovery




                                                 -11-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 17 of 36




requests and dealing with Goldman’s subpoenas of their employers. Klein Decl. ¶ 18. Named

Plaintiffs engaged with Plaintiffs’ counsel over hundreds of communications in the course of this

litigation, and spent significant hours working with counsel, reviewing filings, providing

information, and staying updated on all litigation decisions and strategy. Id.

       Following the close of discovery, Plaintiffs’ six merits experts, Dr. Henry Farber,

Dr. Wayne Cascio, Dr. Caren Goldberg, Dr. Leaetta Hough, Dr. David Yermack, and Sarah

Butler, issued reports supporting Plaintiffs’ claims. Klein Decl. ¶ 19. Goldman submitted rebuttal

expert reports from Brian Dunn, Dr. Eric Dunleavy (who submitted two reports on different

substantive areas), Dr. Kathryn Shaw, and Dr. Margaret Stockdale. Id. All ten experts were then

deposed. Id.

       D.      2021-2022: Daubert, Summary Judgment, and Decertification Motions

       Following the close of fact and expert discovery, the Parties engaged in substantive legal

briefing on a variety of pre-trial matters. Klein Decl. ¶ 20. Beginning in July 2021, the Parties

briefed Daubert motions to exclude expert opinions. ECF Nos. 1184-1189, 1191-1192. At the

same time, the Parties also briefed Goldman’s motion to decertify the class. ECF Nos. 1194-

1236. Plaintiffs and Goldman additionally each filed cross-motions for summary judgment on

August 9, 2021. ECF Nos. 1239-1253. Across these series of motions, the Parties submitted

many hundreds of pages of briefing, declarations, deposition testimony, and exhibits to the Court

for consideration. Briefing of the Daubert motions, decertification motion, and motions for

summary judgment concluded in November 2021.

       On March 17, 2022, the Court denied decertification, denied in part and granted in part

Goldman’s summary judgment motion, denied Plaintiffs’ summary judgment motion, and denied

in part and granted in part Goldman’s and Plaintiffs’ Daubert motions. ECF No. 1337. Shortly

thereafter, Goldman moved for reconsideration of its motion for decertification, or certification



                                                 -12-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 18 of 36




of certain issues for interlocutory review. ECF Nos. 1346, 1347. On August 22, 2022, after full

briefing, the Court denied Goldman’s request for interlocutory review and granted in part

Goldman’s motion for reconsideration, clarifying the scope of certain claims. ECF No. 1374.

       E.      2022-2023: Pre-Trial Process

       On October 11, 2022, the Court scheduled trial for June 2023 and set a schedule for pre-

trial submissions. ECF No. 1380. The Parties continued to litigate additional discovery issues

during this time, including production of additional complaint files and personnel data, and

raised several pre-trial disputes with the Court. On January 31, 2023, after briefing, the Court

issued an order clarifying that the Court would hear Plaintiffs’ Title VII disparate impact

challenge, while the jury would hear and decide Plaintiffs’ remaining claims. ECF No. 1405.

       On February 1, 2023, the Parties submitted competing pre-trial memoranda, a proposed

pre-trial order containing competing proposed jury instructions and voir dire questions, exhibit

lists containing thousands of exhibits and evidentiary objections, deposition designations for

trial, and motions in limine. ECF Nos. 1406-1413. The Parties submitted oppositions to the

motions in limine and pre-trial memoranda on February 22, 2023. ECF Nos. 1417-1421.

       The Parties also spent significant time during this period conferring on their respective

witness lists and scheduling and preparing for depositions for over 30 of Goldman’s trial

witnesses that Plaintiffs had not previously deposed, as contemplated by the parties’ prior

agreement regarding trial witnesses. ECF No. 859. Plaintiffs moved to strike eight of Goldman’s

witnesses as not properly disclosed, and the Court granted Plaintiffs’ motion. ECF No. 1433.

Goldman then moved to strike two of Plaintiffs’ witnesses, and Plaintiffs’ responded by seeking

to strike an additional eight of Goldman’s witnesses. ECF Nos. 1435, 1436. These motions, as

well as the Parties’ motions in limine and disputes concerning jury instructions, voir dire, and

other trial issues remain pending.



                                                 -13-
     Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 19 of 36




        F.      Settlement Negotiations

       At several points throughout this extensive litigation, the Parties engaged in mediation.

Klein Decl. ¶ 22. In the first attempt, on October 10, 2012, the Court referred the Parties to court

mediation, ECF No. 162, which the Parties participated in with a court-appointed mediator on

March 8, 2013. Id. ¶ 23. Around the same time, the Parties requested a 90-day continuance of

discovery deadlines to explore resolution, ECF No. 168, and met in June and August 2013 with

experienced private mediator David Rotman, but ultimately were unable to settle. Id.

       Following the Court’s class certification ruling in 2018, the Parties unsuccessfully

attempted to negotiate a settlement with a third experienced mediator, former judge Daniel

Weinstein, on September 24, 2018. Klein Decl. ¶ 24. The Parties then engaged experienced

mediator Nancy Lesser in May 2019. Id. Ms. Lesser engaged the Parties in pre-mediation

settlement discussions, which broke down prior to the scheduled mediation session. The Parties

did not negotiate further at that time. Id.

       After the Court’s March 2022 summary judgment, decertification, and Daubert decisions,

the Parties participated in a fourth round of mediation with experienced mediator Dina

Jansenson, on May 23, 2022. Klein Decl. ¶ 25. They were unable to reach a resolution at that

time. Id. Ten months later, the Parties attended a fifth round of mediation on March 12, 2023,

again with mediator Dina Jansenson, who made a mediator’s proposal for class monetary relief

that the parties ultimately accepted. Id. Following the mediation, the Parties reached an

agreement in principle and then negotiated a full settlement agreement, which was executed on

May 8, 2023. Id.

       Named Plaintiffs were very closely engaged in the settlement process over the course of

these thirteen years, including repeatedly taking time off from work for each round of mediation,

traveling across the country to meet in person with Plaintiffs’ counsel numerous times before and



                                                 -14-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 20 of 36




during mediations, and spending significant hours communicating – through calls, video-

conferences, and emails – with Plaintiffs’ counsel on each decision point. Klein Decl. ¶ 26.

       G.      The Class

       On March 30, 2018, the Court certified claims under Rule 23(b)(3) for a Class of current

and former female Associates and Vice Presidents in revenue-generating roles in the Investment

Banking, Investment Management, and Securities Divisions in New York City from July 7, 2002

through the resolution of this action, and elsewhere in the United States from September 10,

2004 through the resolution of this action. ECF No. 578. The Court found that this Class satisfied

all the factors under Rule 23(a) and 23(b)(3), appointed Named Plaintiffs as Class

Representatives, and appointed Plaintiffs’ Counsel as Class Counsel. Id.

       Over the five years since the class was certified, several decisions have impacted Class

membership. First, in orders on March 26, 2020 and September 15, 2021, the Court excluded

from the Class, and compelled to arbitration, approximately 1,500 individuals who agreed to

bring claims in arbitration under the terms of various severance, promotion, compensation, and

equity award agreements. ECF Nos. 983, 1264. Second, on March 17, 2022, the Court granted in

part Goldman’s summary judgment motions as to the 360 Review process from 2002 to 2004

and the 360 Review and Manager Quartiling processes after 2015, ECF No. 1337 at 59, which

eliminated certain claims for certain Class Members.

       Finally, on August 22, 2022, the Court granted in part Goldman’s motion for

reconsideration, and modified the Class definition as follows:


       (1) female Associates and Vice Presidents – excluding for self-sustaining private
       wealth advisors – who were subject to the 360 review process and who were
       employed by Defendants long enough to have the process used to determine their
       compensation, in the three divisions from January 1, 2005, through January 1,
       2016; (2) female Associates and Vice Presidents – excluding for self- sustaining
       private wealth advisors – who were subject to quartiling and who were employed



                                                -15-
       Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 21 of 36




         by Defendants long enough to have the process used to determine their
         compensation, in the three divisions, from July 7, 2002, for those based in New
         York City, and from September 10, 2004, for all other U.S.-based individuals,
         through January 1, 2016; and (3) female Vice Presidents from the three divisions
         who were subject to the cross-ruffing process from July 7, 2002, for those based
         in New York City, and from September 10, 2004, for all other U.S.-based
         individuals through the resolution of this action.

ECF No. 1374 at 9.

         The Parties’ Settlement Agreement adopts a Settlement Class definition that mirrors the

Class as originally certified by the Court in March 2018, except that it excludes former Class

Members whose claims were compelled to arbitration or that previously opted out of the class

action (“Previously Excluded Class Members”). The Settlement Class includes Class Members

who would have been excluded by virtue of the Court’s 2022 summary judgment orders. Klein

Decl., Ex. A (Settlement Agreement) § IX(B). These individuals are included in the Settlement

Class because they have not yet received notice that they were excluded by the Court’s August

2022 order, and they could be returned to the case through appeal following the Class trial.

         Solely for the purpose of allowing Participating Class Members (and not Previously

Excluded Class Members or Settlement Class Members who elect to exclude themselves from

the Settlement Class) who are subject to arbitration agreements the opportunity to participate in

the Settlement and for no other purpose, Goldman Sachs agrees that it will not enforce such

Participating Class Members’ arbitration agreements.

III.     THE SETTLEMENT

         A.     Monetary Relief

         Goldman has agreed to pay $215 million into the Settlement Fund. Klein Decl., Ex. A

(Settlement Agreement) §§ III(y), VIII.A. The Settlement Fund is inclusive of payment for: (a)

all amounts paid to Participating Settlement Class Members; (b) all Service Awards paid to

Settlement Class Representatives, as awarded by the Court; (c) all Class Counsel Attorneys’ Fees



                                                 -16-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 22 of 36




and Class Counsel Litigation Expenses, as awarded by the Court; (d) all costs in connection with

the administration of the Settlement Fund including, but not limited to, those related to Notice,

claims processing, legal advice obtained by the Settlement Administrator relating to the

establishment of the Qualified Settlement Fund, tax treatment and tax reporting of awards to

Settlement Class Members, and preparation of the Settlement Fund’s tax returns (and the taxes

associated with such tax returns as defined below); and (e) applicable federal, state, and local

income taxes, and all federal and state unemployment taxes required by law to be withheld other

than those to be paid for by Goldman. Id. §§ III(o), (bb). The Settlement Fund does not include

the costs of the Programmatic Relief, described in section III.B infra, and the Employer Payroll

Tax Payment. Id. § VIII(A)(4).

       The Net Settlement Fund shall be allocated 50% to the Evaluation Process Claim and

50% to the Promotion Process Claim. Id. § IX(A). Participating Settlement Class Members’

share of the Settlement Fund for both the Evaluation Process Claim and the Promotion Process

Claim will be calculated based on the Plan of Allocation described in Section IX of the

Settlement, which accounts for (i) the number of work-weeks worked in relevant positions (and,

for the Promotion Process Claim, additional work-weeks if Participating Settlement Class

Members worked during certain promotion cycles, up to two cycles) and (i) Participating

Settlement Class Members’ base salary applicable to those work-weeks. Id. §§ IX(B)-(D). Each

Settlement Class Member will receive a minimum of $3,000 from the settlement. Id. § IX(D)(2).

The Plan of Allocation applies a discount to the Evaluation Process Claim for weeks worked

after December 31, 2015, in recognition of the Court’s summary judgment order dismissing

those claims (and the fact that this order would have been subject to appeal). Id. § IX(B)(3); see

Mar. 17, 2022 Order (ECF No. 1337) at 57.




                                                 -17-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 23 of 36




       B.      Programmatic Relief

       The Parties jointly selected APTMetrics (“APT”), an independent industrial

organizational psychology consulting firm, to complete a standard validation study of Goldman

Sachs’s performance evaluation processes and the process for promotion from Vice President to

Managing Director. Klein Decl., Ex. A (Settlement Agreement) § V(A)(1). APT will conduct a

new validation study in the event that Goldman Sachs implements substantive changes to its

performance evaluation processes or to the process for promotion from Vice President to

Managing Director during the Effective Period. Id.

       Among other adjustments or agreed-upon continuation of Goldman’s business practices

fully described in the Settlement Agreement, see Klein Decl., Ex. A (Settlement Agreement)

§ V, Goldman also has agreed to the following: First, Goldman will continue the practice of

focusing 360 reviews primarily on professional development, and reducing “score compression”

by largely eliminating numerical scoring. Id. § V(A)(2). Second, Goldman will maintain the

practice of including “attribution” of the 360 reviews (i.e., identifying 360 reviewers by name

with their feedback) in the manager’s view of 360 reviews (but not in the reviewee’s view) to

ensure accountability for feedback and to provide managers with greater context for the 360

review. Id. § V(A)(3). Third, Goldman will continue the practice of providing all employees

(other than participating managing directors) a 360 review report that includes (i) manager

feedback on strengths and developmental needs, (ii) a summary of risk, conduct, and control

feedback and ratings, and (iii) a summary of “manager effectiveness” feedback and ratings (for

employees who supervise three or more direct reports). Id. § V(A)(4). Fourth, Goldman will

continue the practice of excluding “potential” as a criterion for performance evaluation decisions.

Id. § V(A)(5). Defendants will instruct employees that performance evaluations should be

backward-looking based on employees’ performance and conduct during the applicable review



                                                -18-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 24 of 36




period. Id. Fifth, Goldman will require that managers discuss job-relevant criteria for promotion

with Vice Presidents who report to them, including, where relevant in the managers’ discretion,

reference to the specific competencies of the Managing Director job (as will be informed by

APT’s validation study), and career growth opportunities in their Division and Business Unit

during annual performance evaluations. Id. § V(A)(6).

       Goldman has further agreed to engage an independent labor economist to perform an

annual pay equity analysis for the year-end compensation cycles in 2023, 2024 and 2025, and

that the labor economist shall analyze (1) base pay, (2) bonus pay, and (3) equity awards (if

applicable) to identify potential gender pay gaps between substantially similar employees. Id.

§ V(B)(1). If the independent labor economist identifies a gender pay gap, Goldman Sachs will

undertake further analysis to determine whether there is a non-gender-based reason for the pay

gap. Id. § V(B)(2). If Goldman Sachs is unable to identify such a non-gender based-reason for

the pay gap, such as a performance-based or other business rationale, Goldman will take

appropriate steps to address the pay gap. Id. Goldman will pay for the labor economist and for

APT, separate and independent from the Settlement Fund. Id. §§ VA.1., V.B.1.

       C.      Releases From Settlement Class Members

       Participating Settlement Class Members will be bound by a release of Class claims,

releasing Goldman from “all claims, causes of action, demands, losses, costs, interest, penalties,

fees, attorneys’ fees, expenses, rights, actions, duties, obligations, judgments, debts, sums of

money, suits, contracts, agreements, promises, damages, and liabilities of every nature and

description, whether known or unknown, asserted or unasserted, arising during the Settlement

Class Period, that were or could have been asserted based on the facts alleged in the Complaint,

including but not limited to claims for alleged disparate treatment or disparate impact

discrimination on the basis of gender under Title VII of the Civil Rights Act of 1964, 42 U.S.C. §



                                                 -19-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 25 of 36




2000e et seq.; NYCHRL, New York City Administrative Code § 8-107 et seq.; or any other law

arising out of (i) Goldman Sachs’s 360 Reviews, Manager Quartiling, or the process for

promotion from Vice President to Managing Director; (ii) Goldman Sachs’s procedures for

determining compensation; (iii) an alleged pattern and practice of intentional discrimination

related to Goldman Sachs’s performance evaluation and promotion practices; and (iv) Goldman

Sachs’s corporate culture, only to the extent it relates to Goldman Sachs’s compensation,

evaluation and promotion decisions.” Id. §§ III(u), VII.A.1. The released claims include a

release of any remedy or recovery related to or arising from the released claims. Participating

Settlement Class Members will also be enjoined from commencing any action asserting any of

the released claims. Id. § VII.A.1.

       D.      Attorneys’ Fees, Costs, and Service Awards

       Under the Settlement Agreement, for the nearly thirteen years of unreimbursed work for

the benefit of the Class, Class Counsel will request Court approval of attorneys’ fees in the

amount of $71,665,000 (i.e., approximately one-third of the Settlement Fund), as well as

litigation costs and expenses not to exceed $7,500,000. Id. § X(A).

       Class Counsel will also seek Court approval for a service award payment of $250,000 to

each of the Settlement Class Representatives. Id. § X(C). These amounts will be separate and

apart from any other recovery to which the Settlement Class Representatives will be entitled

under the Settlement as Settlement Class Members. Id. These payments are intended to

compensate them for (a) the very significant time and effort they spent on behalf of the Class

with the prosecution of the claims, and the resulting value they have conferred to Settlement

Class Members, and (b) the exposure and risk they incurred by taking a leadership role in a

lawsuit that has garnered broad media coverage, along with the risk of retaliation in the

employment marketplace by employers that do not wish to employ someone associated with a



                                                -20-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 26 of 36




lawsuit against an employer.

       The Settlement Class Representatives have agreed to resolve their individual, non-class

claims for separate consideration, and have agreed to provide a broader general release of claims

for matters that are outside the scope of this Settlement, as negotiated with the assistance of a

third party mediator. The settlement amounts for the Class Representatives were agreed to by the

parties after the parties reached agreement on the class settlement amount. The Parties have

provided a separate submission to the Court under seal describing the terms of the resolution of

Settlement Class Representatives’ individual, non-class claims. Klein Decl. ¶ 28.

       E.      Settlement Administration

       The Parties have jointly selected Rust Consulting, Inc. as Settlement Administrator, to

administer the Settlement Fund pursuant to the terms of the Settlement Agreement and orders of

the Court. Id. § III(w); Klein Decl. ¶ 29. The Settlement Administrator will maintain a dedicated

case website listing telephone and email contact information for the Settlement Administrator

and for Class Counsel. Klein Decl., Ex. A (Settlement Agreement) § VI(C)(6). Within 21 days

after Goldman provides the Class List to the Settlement Administrator, the Settlement

Administrator will mail and email the Court-approved Notice to each Settlement Class Member’s

last known residential and personal email address. Id. § VI(C)(4). The Settlement Administrator

will run the list of Settlement Class Members through the United States Postal Service’s National

Change of Address database before mailing the Notice. Id. § VI(C)(3). Along with the Notice,

the Settlement Administration will send each Settlement Class Member an estimate of each

Settlement Class Member’s Settlement Share. Id. §§ VI(C)(4), III(cc), (dd).

       Settlement Class Members will have 45 days from the date of mailing to object to or opt

out of the Settlement. Id. § VI(D)(1). If Notices are returned to the Settlement Administrator by

the United States Postal Service with forwarding addresses, the Settlement Administrator shall



                                                 -21-
      Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 27 of 36




re-mail the Notice to the new address within two (2) business days. Id. § VI(C)(5). For any

Notices returned as undeliverable, the Settlement Administrator will perform a standard skip

trace in an effort to ascertain the current address. Id. If such an address is ascertained, the

Settlement Administrator shall re-mail the Notice within two (2) business days of receiving such

current address. Id. The Settlement Administrator may also call any identified last-known

telephone numbers of Settlement Class Members to obtain current addresses. Id.

        Within 30 days of the Effective Date, the Settlement Administrator shall distribute checks

to all Settlement Class Members. Id. § VIII(C)(1). Each Settlement Class Member will have 180

days to cash her check. Id. The Settlement Administrator will distribute a reminder postcard 60

days prior to the check expiration date, will attempt to contact Settlement Class Members who

have not cashed their checks via telephone or email, will perform an address trace for any

undeliverable checks, and will re-send the checks if a different address is found. Id.

        If, 180 days after initial distribution from Net Settlement Fund, there is a remaining

balance of more than $150,000.00 in the Net Settlement Fund, a second distribution will be made

to those Participating Settlement Class Members who deposited their initial check, and will

provide Participating Settlement Class Members with another 180 days to cash the second

checks. Id. § VIII(C)(2). If, after this second distribution, there is a remaining balance of funds in

the Net Settlement Fund, it shall be paid to cy pres recipients the National Women’s Law Center

and Equal Rights Advocates. Id.

IV.     ARGUMENT

        A.     Preliminary Approval of the Class Action Settlement Is Warranted.

        The law favors compromise and settlement of class actions. See Wal-Mart Stores, Inc. v.

Visa U.S.A. Inc., 396 F.3d 96, 116 (2d Cir. 2005) (noting the “strong judicial policy in favor of

settlements, particularly in the class action context”) (internal citations omitted). The approval of



                                                  -22-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 28 of 36




a proposed class action settlement is a matter of discretion for the trial court. Maywalt v. Parker

& Parsley Petroleum Co., 67 F.3d 1072, 1078 (2d Cir. 1995). “In exercising this discretion,

courts should give ‘proper deference to the private consensual decision of the Parties.’” Torres v.

Gristede’s Operating Corp., No. 04 Civ. 3316, 2010 U.S. Dist. LEXIS 75362, at *10 (S.D.N.Y.

June 1, 2010) (quoting Clark v. Ecolab, Inc., Nos. 04 Civ. 4488, 06 Civ. 5672, 2009 U.S. Dist.

LEXIS 108736, at *14 (S.D.N.Y. Nov. 27, 2009)).

       Review of a class settlement proceeds in “two stages.” Fed. R. Civ. P. 23(e); Soler v.

Fresh Direct, LLC, No. 20 Civ. 3431, 2023 U.S. Dist. LEXIS 42647, at *4-5 (S.D.N.Y. Mar. 14,

2013) (Torres, J.). First, the “court makes a preliminary evaluation of fairness,” and then the

Court determines whether notice to the class is justified by the parties’ showing that the court

will likely be able to approve the settlement as fair, reasonable, and adequate. Id. (quoting In re

Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., 330 F.R.D. 11, 27 (E.D.N.Y.

2019)). Then, after notice and an opportunity to raise objections are given to the class, the court

holds a fairness hearing. Id. at *4.

       Preliminary approval requires an “initial evaluation” of the fairness of the proposed

settlement based on written submissions and an informal presentation by the settling Parties. 4

Newberg and Rubenstein on Class Actions (Sixth) § 13:10; Soler, 2023 U.S. Dist. LEXIS 42647,

at *5 (citing same). Settlement fairness is determined upon review of both the terms of the

settlement agreement and the negotiating process that led to such agreement. Wal-Mart Stores,

396 F.3d at 116; Soler, 2023 U.S. Dist. LEXIS 42647, at *6-7 (2023). “A presumption of

fairness, adequacy, and reasonableness may attach to a class settlement reached in arm’s-length

negotiations between experienced, capable counsel after meaningful discovery.” Soler, 2023

U.S. Dist. LEXIS 42647, at *7 (quoting Wal-Mart Stores, 396 F.3d at 116). “Further, a




                                                 -23-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 29 of 36




mediator’s involvement in settlement negotiations can help demonstrate their fairness.” Id.

(quoting In re GSE Bonds Antitrust Litig., 414 F. Supp. 3d 686, 693 (S.D.N.Y. 2019)).

       The first step in the settlement process simply allows notice to be issued to the class and

for class members to object to or opt out of the settlement. After the notice period, the Court will

be able to evaluate the settlement with the benefit of the class members’ input. In evaluating a

class action settlement at the second step, courts in the Second Circuit consider the nine factors

set forth in City of Detroit v. Grinnell Corp., 495 F.2d 448 (2d Cir. 1974). See Soler, 2023 U.S.

Dist. LEXIS 42647, at *8 (stating that the court’s inquiry into the adequacy of relief “overlaps

with the Grinnell factors”). Although the Court need not fully evaluate the Grinnell factors to

conduct its initial evaluation of the settlement’s fairness, the Court may consider these criteria as

a guide. 4 Here, the relevant Grinnell factors strongly weigh in favor of preliminary approval.

               1.      Litigation Would Be Complex, Costly, and Long (Factor 1).

       As to Grinnell factor 1, by reaching a favorable settlement before a trial, appeals, and a

further damages phase, Plaintiffs avoid significant expense and delay and ensure timely

individual and programmatic relief for the Class. See In re Austrian & German Bank Holocaust

Litig., 80 F. Supp. 2d 164, 174 (S.D.N.Y. 2000), aff’d sub. nom. D’Amato v. Deutsche Bank, 236

F.3d 78 (2d Cir. 2001) (“Most class actions are inherently complex and settlement avoids the

costs, delays and multitude of other problems associated with them.”). The litigation history of

this case, following new standards announced in Wal-Mart v. Dukes, 564 U.S. 338 (2011), was



4 The Grinnell factors are: “(1) the complexity, expense and likely duration of the litigation; (2)
the reaction of the class to the settlement; (3) the stage of the proceedings and the amount of
discovery completed; (4) the risks of establishing liability; (5) the risks of establishing damages;
(6) the risks of maintaining the class action through the trial; (7) the ability of the defendants to
withstand a greater judgment; (8) the range of reasonableness of the settlement fund in light of
the best possible recovery; [and] (9) the range of reasonableness of the settlement fund to a
possible recovery in light of all the attendant risks of litigation.” 495 F.2d at 463.


                                                  -24-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 30 of 36




especially contentious, involving disagreements over virtually every aspect of the case, resulting

in over 1,400 docket entries over nearly thirteen years. Klein Decl. ¶ 30.

       Highlighting the complexity, the Parties recently filed motions in limine on the scope of

trial and witnesses, and submitted memoranda of law highlighting various disputed legal issues

impacting both trial and remedies. These important disputes remain undecided and their

resolution would significantly impact the scope of trial. Although both Plaintiffs and Goldman

believe they would have prevailed on many (or all) of them, the outcome was not certain.

       Moreover, this Settlement provides substantial money to Settlement Class Members, and

real modifications to Goldman’s processes now, without any further cost or delay. At the point of

Settlement, the Parties were embarking on at least 20 pre-trial depositions, and undertaking

significant efforts to prepare for trial. And, even if Plaintiffs prevailed at Phase I, Class Members

still would not recover at that point, because Goldman would retain rights to appeal the Phase I

verdict and Plaintiffs would still need to prove damages through a Phase II process. These steps

could have added years before Settlement Class Members received any recovery. The proposed

Settlement eliminates these uncertainties and ensures recovery now. Therefore, this factor

heavily weighs in favor of preliminary approval.

               2.      The Court Can Assess the Class’s Reaction After Notice (Factor 2).

       After notice is issued and class members have had an opportunity to be heard, the Court

can fully analyze the second Grinnell factor. However, Plaintiffs note that the Settlement

provides extraordinary monetary relief for Settlement Class Members, as well as adjustments to

Goldman’s performance evaluation and promotion processes. Klein Decl. ¶ 31. Plaintiffs’

Counsel are confident that Settlement Class Members will respond favorably.




                                                 -25-
     Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 31 of 36




                3.      The Parties Exchanged Sufficient Information to Evaluate the Claims
                        and Defenses (Factor 3).

       As to Grinnell factor 3, the Parties completed all pre-trial discovery, and thus had more

than sufficient information to evaluate the strengths and potential weakness of their claims. The

question on this factor is “whether counsel had an adequate appreciation of the merits of the case

before negotiating.” In re Warfarin Sodium Antitrust Litig., 391 F.3d 516, 537 (3d Cir. 2004)

(quoting In re Cendant Corp. Litig., 264 F.3d 201, 235 (3d Cir. 2001)). “[T]he pretrial

negotiations and discovery must be sufficiently adversarial that they are not designed to justify a

settlement . . . [, but] an aggressive effort to ferret out facts helpful to the prosecution of the suit.”

In re Austrian & German Bank Holocaust Litig., 80 F. Supp. 2d at 176 (quoting Martens v. Smith

Barney, Inc., 181 F.R.D. 243, 263 (S.D.N.Y. 1998)) (alterations in original).

       Here, that standard is plainly met: based on the lengthy discovery periods, where

Plaintiffs analyzed hundreds of thousands of Goldman documents, class data, and expert

opinions, and engaged in extensive briefing, including dispositive motions that clarified the

issues in dispute, the Parties were well-equipped to evaluate the strengths and weaknesses and

“had an adequate appreciation of the merits of the case before negotiating.” In re Warfarin

Sodium Antitrust Litig., 391 F.3d at 537. These claims were fully vetted and tested through

adversarial litigation to the point of trial. This factor supports preliminary approval.

                4.      The Risks of Establishing Liability and Damages Favor Approval
                        (Factors 4 and 5).

       As to Grinnell factors 4 and 5, although Plaintiffs believe their claims are meritorious,

they also recognize the significant legal and procedural obstacles they would face in establishing

liability and recovering damages at trial. Indeed, “[i]f settlement has any purpose at all, it is to

avoid a trial on the merits because of the uncertainty of the outcome.” In re Ira Haupt & Co., 304

F. Supp. 917, 934 (S.D.N.Y. 1969). Class action trials, including under Title VII and the



                                                   -26-
     Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 32 of 36




NYCHRL, are subject to obvious risk. Klein Decl. ¶ 32. Juries may get confused about the class

issues and expert evidence. Moreover, this would have been the first gender discrimination class

action trial in the Southern District of New York since Velez v. Novartis in 2010, and the first

anywhere since Dukes, meaning there were certain novel questions going to the scope of the trial

that created additional uncertainty.

        At trial, the Class also faced evidentiary and legal challenges, including establishing that

Goldman’s performance evaluation and promotion processes violated the law, and that the

processes were common to the three Class-relevant Divisions or were the cause of any harm to

Class Members. Id. As shown by its pre-trial submissions, Goldman strongly contests the legal,

evidentiary, and factual basis for each of Plaintiffs’ claims. See ECF Nos. 1411, 1413, 1421.

Moreover, even if Plaintiffs had prevailed at the Phase I trial, they still faced the risk of

decertification and years of appeal before the class received any benefit from any Phase I verdict

in Plaintiffs’ favor.

        Risk was also present at the damages phase, even if Plaintiffs prevailed at the Phase I

trial. For example, the Parties disputed what damages issues could be determined at Phase II on a

class basis and which required individual proof or were subject to individual defenses. In

contrast to these risks, the Settlement provides certainty and ensures that Goldman will provide

monetary and programmatic relief to Settlement Class Members who remain employed at

Goldman without any further proof. These circumstances strongly favor preliminary approval.

                5.      Risk to Maintaining Class Certification Favors Approval (Factor 6).

        As discussed, the risk of maintaining class certification post-trial is also present. While

Plaintiffs recently defeated Goldman’s decertification motion, Goldman would have had another

opportunity to raise these issues after trial and on appeal. While Plaintiffs believe they would be

able to convincingly respond to Goldman’s decertification arguments at trial and on appeal, the



                                                  -27-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 33 of 36




Settlement eliminates any further risk of decertification, further favoring approval.

               6.      Ability to Withstand a Greater Judgment Is Neutral (Factor 7).

       Goldman’s ability to withstand a greater judgment is a neutral factor. Collectability was

not a factor in the Settlement negotiations and, therefore, Plaintiffs provided no discount for risk

of collection. Klein Decl. ¶ 33. Although Goldman may have been able to withstand a greater

judgment, this alone does not suggest that the settlement is unfair, especially where the other

factors so clearly favor settlement at this juncture. See In re Austrian & German Bank Holocaust

Litig., 80 F. Supp. 2d at 178 n.9 (noting that “ability to withstand a greater judgment, standing

alone, does not suggest that the settlement is unfair”). Here, the Settlement eliminates the risk

that Plaintiffs and Settlement Class Members may not recover anything. Klein Decl. ¶ 33.

Accordingly, this factor is either neutral or favors settlement approval.

               7.      The Settlement Is Substantial, Even in Light of the Best Possible
                       Recovery and the Attendant Risks of Litigation (Factors 8 and 9).

       This settlement is comprehensive, with significant programmatic adjustments related to

the concerns that led to this litigation. First, as compensation for their claims, all Settlement

Class Members are entitled to a share of the $215 million Settlement Fund, using the allocation

formula outlined in Section III.A, supra, which takes into account workweeks, eligibility for

promotion from Vice President to Managing Director, and other factors. Settlement Class

members will receive a minimum award of at least $3,000. Based on Class Counsel’s estimate,

this recovery represents approximately 50% of total potential damages for Settlement Class

Members’ claims. Klein Decl. ¶ 34; see Kassman v. KPMG LLP, No. 11 Civ. 3743, 2021 U.S.

Dist. LEXIS 71243, at *10-11 (S.N.D.Y. Apr. 12, 2021) (approving gender discrimination

settlement for “approximately 20% of Plaintiffs’ alleged potential damages”). This is a strong

class recovery, particularly given the risks of trial liability and damages, and that this avoids any




                                                  -28-
    Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 34 of 36




risks that Settlement Class Members could have incurred in coming forward for individual Phase

II Teamsters hearings. Klein Decl. ¶ 34.

       Second, the Settlement also requires Goldman to undertake programmatic adjustments

that benefit all current and future Associates and Vice Presidents. Most directly, the Parties

jointly selected APT to complete a validation study of Goldman Sachs’s performance evaluation

processes and the process for promotion from Vice President to Managing Director. Goldman

will issue written guidance to 360 reviewers and Goldman will also retain an independent expert

to conduct a pay equity review for the next three compensation cycles. These adjustments will

greatly benefit Class Members who remain employed at Goldman and untold numbers of future

employees. As described more fully above, see § III(B), Goldman will also continue several

practices related to performance evaluation and promotion.

               8.       The Settlement Provides for Equitable Treatment of Class Members.

       Finally, in addition to the Grinnell factors, Rule 23(e)(2)(C) requires a court to examine

whether “the proposal treats class members equitably relative to each other.” Fed. R. Civ. P.

23(e)(2)(C). Under the terms of the Settlement, all Settlement Class Members will receive a

minimum of $3,000 based on an allocation formula that accounts for their workweeks, base

salary applicable to those workweeks, and, where applicable, employment as a Vice President

during promotion cycles. Klein Decl. ¶ 35. Accordingly, this factor also weighs in favor of

preliminary approval.

       B.      The Proposed Notice Process Satisfies Due Process.

       The proposed Notice fully complies with due process and Rule 23(c)(2)(B). The Notice is

written in plain language and organized and formatted to be as clear as possible. Id. R. 23(e). It is




                                                 -29-
     Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 35 of 36




based on the model notices provided by the Federal Judicial Center (“FJC”), 5 see Reyes v.

Altamarea Grp., LLC, No. 10 Civ. 6451, 2010 U.S. Dist. LEXIS 139132, at *4 (S.D.N.Y. Dec.

22, 2010) (approving notice based on the FJC’s model notices), and what was previously

approved by the Court at class certification, ECF No. 618. The Notice describes the Settlement’s

terms, the proposed attorneys’ fees and costs, and the proposed service awards; will be sent with

an estimate of each Settlement Class Member’s Settlement Share; explains how to opt out or

object; and will provide the date, time, and place of the fairness hearing. See Klein Decl., Ex. A

(Settlement Agreement), Ex. 1 (Notice); see also Soler, 2023 U.S. Dist. LEXIS 42647, at *18-19

(approving similar notice).

       The Notice process is also reasonably calculated to reach all class members who would

be bound by the Settlement. Soler, 2023 U.S. Dist. LEXIS 42647, at *19-20. The Settlement

Administrator will mail and e-mail the Notice to Settlement Class Members, create and

administer a settlement website, take reasonable steps to obtain correct addresses for Settlement

Class Members whose notice is returned as undeliverable, and attempt re-mailings for those

Settlement Class Members. See Klein Decl., Ex. A (Settlement Agreement), Ex. 1 (Notice). No

claim form is required, and the proposed Notice process presents no barriers to participation. Id.;

see Id. (approving similar distribution plan).

V.     CONCLUSION

       For these reasons, Plaintiffs respectfully request that the Court preliminarily approve the

Settlement, approve the proposed Notice, and schedule a final fairness hearing for a date that is

at least 100 calendar days after preliminary approval.



5 See FJC, Illustrative Forms of Class Action Notices: Notice Checklist and Plain Language
Guide, https://www.fjc.gov/content/301350/illustrative-forms-class-action-notices-notice-
checklist-and-plain-language-guide (last visited April 25, 2023).


                                                 -30-
   Case 1:10-cv-06950-AT-RWL Document 1440 Filed 05/08/23 Page 36 of 36




                                  Respectfully submitted,


Dated: May 8, 2023          By: /s/ Adam T. Klein

                                  Adam T. Klein
                                  Cara E. Greene
                                  Christopher M. McNerney
                                  Michael C. Danna
                                  Sabine Jean
                                  OUTTEN & GOLDEN LLP
                                  685 Third Avenue, 25th Floor
                                  New York, NY 10017
                                  Tel.: (212) 245-1000
                                  Fax: (646) 509-2060


Dated: May 8, 2023          By:   /s/ Kelly M. Dermody
                                  Kelly M. Dermody (admitted pro hac vice)
                                  Anne B. Shaver (admitted pro hac vice)
                                  Michael Levin-Gesundheit (admitted pro hac vice)
                                  Michelle A. Lamy (admitted pro hac vice)
                                  LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                                  275 Battery Street, 29th Floor
                                  San Francisco, CA 94111-3339
                                  Tel.: (415) 956-1000
                                  Fax: (415) 956-1008

                                  Rachel J. Geman
                                  Jessica A. Moldovan
                                  LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                                  250 Hudson Street, 8th Floor
                                  New York, NY 10013-9592
                                  Tel.: (212) 355-9500
                                  Fax: (212) 355-9592


                                  Attorneys for Plaintiffs and the Class




                                     -31-
